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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA            §
     ex rel. John King & Tammy      §       CIVIL ACTION NO. 06-2662
     Drummond, and John King &      §
     Tammy Drummond                 §
     individually, et al.           §
                                    §
             Plaintiffs,            §
                                    §
v.                                  §
                                    §
SOLVAY S.A., et al.                 §
                                    §
             Defendants.            §

        RELATORS’ MOTION TO EXCLUDE THE EXPERT TESTIMONY OF
              RICHARD A. MORTIMER AND BRIEF IN SUPPORT




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Exhibits
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Exhibit B      Deposition of Richard A. Mortimer taken on April 10, 2015
Exhibit C      Expert Report of Meredith Rosenthal, PhD, dated December 15, 2015
Exhibit D      Expert Report of Christopher Saigal, M.D., dated December 15, 2015




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                      I.       NATURE AND STAGE OF THE PROCEEDING

          Pursuant to Court’s Scheduling Order, as amended most recently on February 3, 2015

(Dkt. 383), discovery has closed. This motion to exclude the expert testimony of Dr. Richard A.

Mortimer (“Dr. Mortimer”) is filed pursuant to the May 15, 2015 deadline as amended on

February 3, 2015. Solvay designated Dr. Mortimer as an expert on March 12 in response to the

report offered by Relators’ expert Dr. Meredith Rosenthal. Dr. Mortimer was deposed on April

10, 2015.

                             II.      STATEMENT OF ISSUES & STANDARD OF REVIEW

          Whether this Court should exclude the testimony of Dr. Mortimer as to the following

topics:

   (1) Impact on sales of off-label promotions;

   (2) Epidemiological observations such as prevalence of hypogonadism and hypogonadism as
       an underdiagnosed condition;

   (3) Medical or clinical opinions such as the identification of “unmet needs” for medical
       treatment; and

   (4) Dr. Mortimer’s legal opinions regarding Bornstein considerations, what constitutes a
       false claim, and the substance of state prior authorization policies and regulations.

The Fifth Circuit reviews a district court’s decision to exclude expert witness testimony under an

abuse of discretion standard, and the ruling “will not be disturbed on appeal unless it is

manifestly erroneous.” United States v. Wen Chyu Liu, 716 F.3d 159, 167 (5th Cir. 2013) cert.

denied, 134 S. Ct. 1011, 187 L. Ed. 2d 858 (2014) (citing United States v. Valencia, 600 F.3d

389, 423 (5th Cir.2010)).

                                   III.        SUMMARY OF THE ARGUMENT

          Economist        Richard        A.   Mortimer,   an expert   witness   for   Defendant   Solvay

Pharmaceuticals, Inc. (Solvay), offers opinions on a variety of topics, including of course
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economics, but spanning epidemiology, prevalence, rate of diagnosis, and the supposed lack of

effect of all off-label promotion. Dr. Mortimer is not qualified to offer opinions on subject other

than economics, and as a result such opinions should be struck. Further, even within the subject

of economics, Dr. Mortimer must satisfy Daubert standards for offering any opinion. As

discussed below, Dr. Mortimer failed to do so for a number of opinions. As a result, pursuant to

Federal Rule of Evidence 104(a) and 702, Relators John King and Tammy Drummond move to

exclude Dr. Mortimer’s testimony, regarding the following matters in this case:

   (1) Impact on sales of off-label promotions, given his arbitrary exclusion of evidence and
       failure to engage in his own analysis;

   (2) Epidemiological observations such as prevalence of hypogonadism and hypogonadism as
       an underdiagnosed condition, given his lack of qualifications;

   (3) Medical or clinical opinions such as the identification of “unmet needs” for medical
       treatment, given his lack of qualifications; and

   (4) Legal opinions regarding Bornstein considerations, what constitutes a false claim, and the
       substance of state prior authorization policies and regulations.

Dr. Mortimer’s methodology and failure to undertake an independent analysis render unreliable

his methodology underlying his opinions about the impact of marketing on the sales of the drugs

at issue. Dr. Mortimer is an economist, and is not qualified to testify on items 2, 3, and 4. In

addition, the basis and methodology of Dr. Mortimer with respect to these issues is not reliable.

Finally, the opinions referenced in item 4 include improper legal evidence.

                                IV.     STANDARD OF LAW

       Federal Rule of Evidence 702 governs the admissibility of expert testimony. Fed. R. Civ.

P. 702. The expert must testify to knowledge that will assist the trier of fact to understand or

determine a fact in issue. See Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 591 (1993).

Although the Daubert case involved a scientific expert, the United States Supreme Court later



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expanded the Daubert factors to apply in cases involving non-scientific experts. See Kumho Tire

Co., Ltd. v. Carmichael, 526 U.S.137 (1999).

           In determining whether an expert’s testimony complies with the requirements of Fed.

 Rule Evid. 702, the trial court, acting as a “gatekeeper,” is charged with the responsibility to

 exclude unreliable scientific evidence. See Daubert, 509 U.S. at 591. The "reliable principles

 and methods" prong of Rule 702 analysis requires the Court to look to other factors in order to

 fulfill its designated "gatekeeping" role, including:

                1) whether a theory or technique has been or can be tested;
                2) whether the theory or technique has been subjected to peer
                   review and publication;
                3) the technique’s known or potential rate of error and the
                   existence and maintenance of standards controlling the
                   technique’s operation; and
                4) whether a particular technique or theory has gained general
                   acceptance in the relevant scientific community

See e.g. In re: Fosamax Products Liability Litig., No. 06 MD 1789 (JFK), 2013 US Dist.

LEXIS at *21-22 (S.D.N.Y. Jan. 7, 2013) (citing United States v. Williams, 506 F.3d 151, 160

(2d Cir. 2007) (citing Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 593-94,113 S. Ct.

2786, 125 L. Ed. 2d 469 (1993)). The purpose of analyzing proposed expert testimony in light

of Rule 702 and the Daubert reliability factors is to “make certain that an expert, whether

basing testimony upon professional studies or personal experience, employs in the courtroom

the same level of intellectual rigor that characterizes the practice of an expert in the relevant

field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152, 119 S. Ct. 1167, 143 L. Ed. 2d 238

(1999).

          Under Daubert the district court is to make a “preliminary assessment of whether the

reasoning or methodology underlying the testimony is scientifically valid and of whether that

reasoning or methodology properly can be applied to the facts in issue.” Daubert, 509 U.S. at

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592–93, 113 S.Ct. 2786. Among the factors to consider is whether the “‘expert testimony

proffered in the case is sufficiently tied to the facts of the case that it will aid the jury in resolving

a factual dispute.’” Id. at 591, 113 S.Ct. 2786 (quoting United States v. Downing, 753 F.2d 1224,

1242 (3d Cir.1985)). The Court referred to this requirement as “fit,” meaning that the expert

testimony must not only be based on reliable science but must also “fit” the particular facts of the

case. See id. In the Fifth Circuit, the party seeking to admit the expert testimony must

demonstrate that (1) the expert is qualified, (2) the evidence is relevant to the suit, and (3) the

evidence is sufficiently reliable. See Watkins v. Telsmith, Inc., 121 F.3d 984, 988-89 (5th Cir.

1997). The party seeking to admit the expert testimony must provide “objective, independent

validation of the expert’s methodology” and cannot rely on the “expert’s assurances that he has

utilized generally accepted scientific methodology.” Moore v. Ashland Chem., Inc., 151 F.3d

269, 276 (5th Cir. 1998) (citing Daubert). With respect to the matters challenged in this motion,

Dr. Mortimer’s opinions fail to meet the standards established by Daubert and the Fifth Circuit

for the admissibility of expert testimony. Dr. Mortimer’s testimony should therefore be excluded.

                              V.      ARGUMENTS & AUTHORITIES

    A. Dr. Mortimer’s Qualifications are Limited to his Training as an Economist

        1. Dr. Mortimer’s Area of Expertise is Economics

        By his own testimony, Dr. Mortimer’s expertise is limited to economics. Dr. Mortimer

testified that he was trained as an economist and that in rendering his opinions in this case he

relied on his training as an economist:

                My training is as a Ph.D. in economics. My focus was industrial
                organization, which is basically the study of different industries.
                I’ve–obviously, healthcare being a large industry in the United
                States and one that’s commonly studied in industrial organization
                economics. So I rely on my training as an economist.


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Transcript of April 10, 2015 Deposition of Richard A. Mortimer (“Tr.”) 11:18-24, attached as

Exhibit B. Dr. Mortimer testified that he considered himself an expert in economics and that he

was testifying in that capacity in this case. Tr. 12:8-13. When asked if he considered himself an

expert in healthcare, Dr. Mortimer responded: “I consider myself an expert in the application of

economics in the area of healthcare and health policy.” Tr. 12:17-19. When asked if there were

any other areas of expertise that he claimed with regard to his testimony, he responded: “I—my

expertise is primarily in the area of economics, especially in the area of industrial organization

and in the area of statistical analyses that sort of cover applied economic research and that’s the

focus of my testimony in this case.” Tr. 12:23-13:2.




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       2. Dr. Mortimer Admitted that He Had No Clinical Expertise and that He Did Not
          Consult Anyone with Clinical Expertise

       By his own admission, Dr. Mortimer does not have any expertise with respect to the

clinical or medical understanding of the three drugs at issue, nor did he consult anyone with

clinical or medical expertise. In his deposition Dr. Mortimer testified as follows:

               Q.      (By Ms. Frazier) So we’ve talked a little about your areas
                       of expertise already. Do you claim any expertise regarding
                       the clinical side of these drugs?

               A.      I do not.

Tr. 35:10-14. Dr. Mortimer also testified that he did not consult any clinical experts and that he

did not make any clinical assumptions.

               Q.      Now, have you—have you consulted with any –anyone
                       with clinical expertise with regard to this case?

               A.      I do not believe any of my testimony is with respect to the
                       clinical expertise so I did not consult with anyone.

               Q.      Did you make any clinical assumptions in forming your
                       opinions?

               A.      I did not, no.

Tr. 35:25-36:8. Through his own testimony it is evident that Dr. Mortimer is not qualified to give

testimony as to clinical matters.

       3. Dr. Mortimer Does Not Claim Expertise in Epidemiology

       By the same token, Dr. Mortimer admitted that he was not an epidemiologist, that he was

not claiming any expertise as an epidemiologist.

               Q.      And are you an epidemiologist?

               A.      I’m not an epidemiologist.

               Q.      And you’re not claiming that expertise today; correct?


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               A.       No, but I have reviewed epidemiological data and evaluate
                        what it means.

Tr. 91:11-16. As indicated above, and discussed below, Dr. Mortimer nevertheless opined on

epidemiological data.

   B. Dr. Mortimer’s Testimony Regarding Impact on Sales of Off-Label Promotions is
      Ipse Dixit and Therefore Inadmissible

       During his deposition Dr. Mortimer presented a critique of Dr. Rosenthal’s opinion that

the alleged off-label promotion, if proved, would have impacted sales to some degree. He

indicated his opinion that off-label promotion, even if it took place as alleged by Relators, might

have had no impact on sales. This testimony must be excluded, however, because Dr. Mortimer

failed to identify, let alone apply, a methodology nor did he identify any factual bases for

reaching his opinion. In recent years the Supreme Court has put renewed emphasis on the

importance of the “fit” of an expert's opinion to the data or facts in the case:

               [C]onclusions and methodology are not entirely distinct from one
               another.... [N]othing in either Daubert or the Federal Rules of
               Evidence requires a district court to admit opinion evidence that is
               connected to existing data only by the ipse dixit of the expert. A
               court may conclude that there is simply too great an analytic gap
               between the data and the opinion proffered.

Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039, 1055 (8th Cir. 2000) (quoting General

Elec. Co. v. Joiner, 522 U.S. 136, 146, 118 S.Ct. 512, 139 L.Ed.2d 508 (1997) and citing

Jaurequi v. Carter Mfg. Co., 173 F.3d 1076, 1082 n. 3 (8th Cir. 1999)). A court must focus on

the “reasonableness of using such an approach, along with [the expert's] particular method of

analyzing the data thereby obtained, to draw a conclusion regarding the particular matter to

which the expert testimony was directly relevant.” Concord, 207 F.3d at 1055 (quoting Kumho

Tire Co. v. Carmichael, 526 U.S. 137, 154, 119 S.Ct. 1167, 143 L.Ed.2d 238 (1999) (emphasis in

original)). That is simply not the case here.

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       Dr. Mortimer testified at deposition that he has not studied or undertaken any analysis

regarding the impact (on sales) of advertising related to exaggerated or off-label claims; he also

testified that he did not have an opinion regarding this issue.

               Q: (By Ms. Frazier) So as you sit here today you don’t have an
                     opinion about whether all representations made in the
                     marketplace with respect to drug advertising are on-label
                     and completely accurate?

               A:      I have not studied that, I don’t have the representation.

               Q:    (By Ms. Frazier) Given that fact I would—it would follow
                       that you do not have an opinion about the impact on sales
                       of exaggerated or off-label claims?

               A: That’s correct. I have not studied or undertaken any
                     analysis to identify the impact of such advertising on sales.

Tr. 164:6-20 (objection omitted). Dr. Mortimer also testified:

               Q: Now, you have let us know that you have no opinion on
                    whether the allegations in this case if true would have
                    impacted the sales; is that correct?

               A:      I have not---

               A: I have not done any analysis of the impact of                    the
                    allegations on sales.

Tr. 205:8-14 (objection omitted).

       Despite this disavowal, however, Dr. Mortimer does offer an opinion about the impact on

sales in this case; he testified further that because he rejects Dr. Rosenthal’s grounds for her

opinion that the off-label promotion alleged, if true, would have impacted sales, he opines that

such off-label promotion might have had no impact on sales at all. See generally Tr. 205-211. Dr.

Mortimer stated:

               So the basis, the main basis for that opinion is that in the academic
               literature there is no specific evidence, no study that demonstrates
               that improper off-label marketing generally has an impact on sales.

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                  Furthermore, there is no evidence in the record here that shows a
                  detailed statistical analysis demonstrating that off-label or
                  improper promotional specific to this case had an impact on the
                  sales on the at-issue products in this case. Based on the fact that
                  there is no evidence that exists with respect to causation between
                  the at-issue allegations in this case and the sales of the products in
                  this case I maintain as a possibility that there is no causation
                  between those.

Tr. 210:16-211:5. This is a problem: when Dr. Mortimer makes the leap from criticizing Dr.

Rosenthal’s analysis to making his own conclusions of any kind about the facts of this case, he

must support his own opinions with independent analysis. Apparently unwilling to delve into

such analysis, he cannot utter ipse dixit opinions about the absence of causation without running

afoul of Daubert and its progeny. In fact, Dr. Mortimer has never undertaken the kind of analysis

he suggests is necessary to measure properly the impact of off-label marketing of drugs on

Solvay’s sales:

       A. It would be possible to do a statistical analysis that was well designed and
       complete and find that there was no impact of the off-label marketing in this case
       on sales.
       Q. And what data would you need in order to do that?
       A. I haven't studied that specifically but I would think one would want as detailed
       a data as possible on the activities that are at issue here, and which physicians,
       how frequently and what areas they were targeted with the alleged improper
       promotion. You would want detailed information on prescribing for those
       physicians. You would also want some sort of ability to disentangle the
       correlation from causality in that type of analysis.
       Q. Have you ever designed such an analysis?
       A. In the pharmaceutical industry specifically, no, but I have designed analyses
       that deal with correlation between the variable interest and the explained variable
       of interest and the outcome variable of interest that's based on very detailed
       individual level of information.
       Q. And the data that is available to do analyses is not necessarily identical, of
       course, from industry to industry; correct?
       A. That is correct.

Tr. 208:8-209:9 (objection omitted).




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It is black letter law that a district court “must assess whether the methodology used by the

proposed expert is valid and whether it was properly applied.” Kammerer v. Wyeth, 2011

237757, at *1 (D. Neb. Nov. 1, 2011) (citing In re Prempro Prods. Liab. Litig. (Scroggin), 586

F.3d 547, 565 (8th Cir.2009)). This assessment has two prongs, both of which Dr. Mortimer

fails. First, as discussed above, Dr. Mortimer should have applied a valid methodology—no

methodology cannot be valid. In MGM Well Services, Inc. v. Mega Lift Sys., LLC, CIV.A. H-05-

1634, 2007 WL 150606, at *1 (S.D. Tex. Jan. 16, 2007), a lawyer with an electrical engineering

background was excluded from testifying as to the technical issues encompassed in the patent

dispute, because (1) he failed to perform his own calculations, but opined that MGM’s

calculations were incorrect because the defendant’s president, told him so; and (2) he did not

review data from testing that was allegedly performed on Mega Lift's plunger system, testifying

in his deposition that he was not aware of the test and had not seen any of the results, rendering

his opinion ipse dixit. See also Orthoflex, Inc. v. ThermoTek, Inc., 986 F.Supp.2d 776, 798

(N.D.Tex. 2013), “Although in forming an independent opinion an expert can rely on

information provided by a party’s attorney, an expert cannot forgo his own independent analysis

and rely exclusively on what an interested party tells him.”; Stinson Air Ctr., LLC v. XL Specialty

Ins. Co., Civ. No. SA-03-CA-61-FB, 2005 WL 5979095, at *3 (W.D.Tex. July 8, 2005) (also

excluding expert opinion based upon representations of interested party without independent

analysis). Because Dr. Mortimer did not just critique Dr. Rosenthal’s analysis, but offered his

own opinion about causation, he was required to support it with his own independent review and

analysis.

       Second, as discussed below, Dr. Mortimer has to properly apply the methodology. In

order to properly apply a methodology, courts will look at whether the “expert sufficiently



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connected the proposed testimony with the facts of the case.” Lauzon v. Senco Prods., Inc., 270

F.3d 681, 686-697 (8th Cir. 2001). Dr. Mortimer failed to do so.

       Dr. Mortimer’s testimony refers to the absence of evidence, but for reasons he never

explains, he ignores or otherwise fails to consider the evidence that Solvay’s off-label

promotions did in fact drive sales and that Solvay acknowledged and indeed relied on such

promotions. He was asked in deposition, for instance, about Solvay data indicating that the sales

representative detailing was the most common factor in prompting a doctor’s first AndroGel

prescription:

       A. Okay. I’ll read it to you. “Learning about AndroGel for the first time almost
       always came from one of two sources, either an AndroGel sales rep, 56 percent,
       or through reading one of their professional journals, 42 percent. This provides a
       rationale” -- I'm skipping a little bit, if you go down to next paragraph. “This
       provides a rationale to make the effort to get to these physicians as soon as they
       prescribe a few Rx through an E-Detail or some direct marketing.”
       Q. (By Ms. Frazier) Skipping down to the next paragraph, “Detailing by an
       AndroGel rep is the most common factor that prompted them to try their first
       prescription of AndroGel.”
       A. Right. “Although several other aspects influenced as well.” Okay.
       Q. Now, have you had the opportunity – have you been given this business plan to
       read?
       A. I don't recall if I have this precise one. The language on Page 34 is familiar and
       I don't recall if I noticed it in the fifth amended complaint or some other -- or
       through the original document or some other source.
       Q. Do you take issue with the accuracy of these statements at all?
       A. I have no way to evaluate the accuracy of these statements.
       Q. (By Ms. Frazier) Do these statements reflect the fact that detailing and
       professional journal advertising are believed to be at the time of the plan the most
       important determinant of the market uptake, that is the sales of AndroGel?
       Q. (By Ms. Frazier) Do you understand the question?
       A. I do. I’d say business plans are put together for many reasons. I don’t know the
       exact reason for the compilation of this business plan. The person who compiled it
       or the people who complied it may believe it to be an accurate and factual
       representation, it may be the representation that they wanted to convey to the
       audience who was receiving it. I can’t make a judgment in terms of what their
       intention was when putting the document together.




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Tr. 167:19-168:22 (objections and counsel communications omitted). While Dr. Mortimer

acknowledged he had no reason to doubt the accuracy of Solvay’s statements, or otherwise to

discount this evidence that the marketing of AndroGel impacted sales, he continued to opine that

he had seen “no evidence” of such impact. See, e.g., Tr. 210:16-211:5. Dr. Mortimer’s

assessment was similarly impervious to other such evidence, and to the notion that

pharmaceutical companies might employ marketing strategies because they are indeed effective.

Tr. 168:23-180:19; 142:19-127:24.

       Dr. Mortimer cannot, under Daubert, base his analysis on no methodology and no

evidence. Yet, because this is precisely what Dr. Mortimer did, his opinion that “off-label

promotion is ineffective in generating sales” is mere ipse dixit, which is precisely what the Court

is empowered and designed to keep out through its gatekeeping function.




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   C. Dr. Mortimer’s Opinions Regarding Epidemiological Observations Such as
      Prevalence of Hypogonadism and Hypogonadism as an Underdiagnosed Condition
      Should be Excluded

       In responding to Dr. Rosenthal’s report and testimony, Dr. Mortimer, though an

economist like Dr. Rosenthal, offered his own various observations and opinions about the

prevalence of hypogonadism and the “underdiagnosis” of hypogonadism based on his own

interpretation of epidemiological literature as well as sources that cite no data whatsoever:

               Dr. Rosenthal’s characterization of hypogonadism is similarly
               misinformed. She describes hypogonadism as a rare condition
               affecting “a small segment of the population.” On the contrary,
               according to a 1996 FDA publication, four to five million U.S.
               adult men were hypogonadal. Similarly, the literature, including
               that cited by Relators’ Expert Dr. Saigal, directly contradicts Dr.
               Rosenthal’s assertion that hypogonadism was a rare condition.
               Report at 45, ¶ 74, cit. omitted.

               […]

               Dr. Saigal cites “several large epidemiologic studies on the
               prevalence of hypogonadism.” Based on the prevalence rates
               reported in these studies and male population estimates from the
               U.S. Census, I estimated that between 2.7 and 7.2 million men
               were hypogonadal in 2000 (see Exhibit 11).” Report at 45, ¶ 74.1,
               cit. omitted; see also, e.g., Tr. 89.

               […]

               The literature also suggests that hypogonadism                 is   an
               underdiagnosed condition.” Report at 47, ¶ 75.

In fact, Dr. Mortimer offered his own calculation of the prevalence of hypogonadism in

American men:

               A.    My opinion is merely knowing what the epidemiological
                      data has found, and I believe I summarize that in Exhibit
                      11.The three studies cited by Dr. Saigal. The prevalence
                      rate associated with those studies for different age groups
                      in the male population using those to determine what the
                      prevalence is. Based on those studies it is between 2.7 and
                      7.2 million.

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               Q. And this is an opinion that you're offering today with
                     regard to prevalence?

               A.     That's the calculation that I made. I'm not evaluating the --
                       I'm not evaluating those studies, I'm merely summarizing
                       those studies.

Tr. 95:4-16 (objection omitted). Dr. Mortimer’s testimony and opinion as to the prevalence of

hypogonadism should be struck because (1) Dr. Mortimer is not qualified to render opinions on

this issue and (2) there was no reliable basis for these opinions.

   1. Dr. Mortimer is Not Qualified to Assess Epidemiological Evidence

       Estimating the prevalence of hypogonadism in American men requires understanding of

both basic epidemiology and clinical understanding as to what constitutes hypogonadism; Dr.

Mortimer, while undoubtedly a competent economist, has expertise in neither of these subjects.

While he is free to assume a fact for the purposes of his analysis in this case, his own

observations regarding the landscape of epidemiologic evidence of prevalence is not helpful to

the jury. Case law is clear that the expert must be qualified to give the opinions offered. This

correlation between qualifications and opinion is narrowly construed. For example, in Seatrax,

Inc. v. Sonbeck Intern., Inc., 200 F.3d 358 (5th Cir. 2000), the Fifth Circuit held that an expert

witness’s 15 years of experience in the crane industry did not qualify him to opine about profit

margins in that same industry. Id. at 371-372. Similarly, in Smith v. Goodyear Tire & Rubber

Co., 495 F.3d 224 (5th Cir. 2007), the Fifth Circuit upheld the exclusion of a polymer scientist’s

opinion regarding the cause of a burst tire, because the expert had not worked in the tire industry

in any capacity and had never testified as a tire expert. Id. at 226-227. If such experts, whose

expertise is actually related to the opinions offered, could not offer those opinions, it is axiomatic




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that Dr. Mortimer—an economist—cannot offer opinions on the rate of diagnosis of

hypogonadism.

   2. Unsurprisingly, Dr. Mortimer’s Assessment of Prevalence Data is Based on
      Unreliable Methodology

       Examining Dr. Mortimer’s analysis more closely reveals the perils of allowing an

economist to opine on such questions. Dr. Mortimer states that he offers no opinion as to whether

“andropause” and age-associated hypogonadism are within AndroGel’s label, that is, whether

they meet the FDA’s definitions of primary or secondary hypogonadism. Tr. 180:13-19. Yet the

question is vital for analyzing the prevalence data, and in selecting the studies he does, he

necessarily assumes that andropause constitutes “hypogonadism” for such purposes.

       Moreover, while Dr. Mortimer supports his selection of prevalence studies by noting that

Dr. Saigal, Relators’ expert regarding AndroGel medical and clinical issues, cited them in his

report, these citations do not on such basis provide support for his prevalence calculations. First,

Dr. Mortimer cherry picks from such citations; he omits the citation that Dr. Saigal found most

probative: the company’s own press release in 1996 stating that the number of American

hypogonadal men was not in the millions at all, but only 400,000. Saigal Report at 21, attached

as Exhibit D. As to the studies that Dr. Mortimer does cite, among them those sponsored by

Solvay, Dr. Saigal criticized these as over inclusive, because they encompass men with low

testosterone laboratory levels but without symptoms reliably associated with hypogonadism.

Saigal Report at 21-22.

       Dr. Mortimer also makes unacknowledged assumptions, such as relying on a prevalence

statement made in 1996 on the FDA’s website that 4 to 5 million American men are

hypogonadal, even though the statement is uncited and he knows of no literature supporting the




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figure. Upon questioning at his deposition, Dr. Mortimer admitted that he did not know the

source of the 4 to 5 million figure.

                        Q.          (By Ms. Frazier) I mean, does it—can you look at that—
                                    that document and determine where that number comes
                                    from?

                        A.          The underneath of it? You mean the –which number?

                        Q.          There is a prevalence number that you’re citing in that
                                    document; correct?

                        A.          You can look at the document and the document states that
                                    the prevalence is four to five million adults and 5 percent
                                    treatment.

                        Q.          Right. And does it say where that comes from?

                        A.          It does not.

                        Q.          It doesn’t?

                        A:          I don’t recall it does, no.

                        Q.          Did you do a literature search to try to determine where the
                                    four to five million comes from?

                        A.          I did not. I rely on the FDA to report valid information.

                        Q.          So as you sit here today do you know what the source of
                                    the four to five million was, whether it was a scientific
                                    study or someone’s estimate or something else?

                        A.          I don’t.

Tr. 89:9-90:4 (objection omitted).1

            A further problem arises in asking this economist to consider the steep rise in testosterone

use over the last fifteen years and whether he considers hypogonadism to be underdiagnosed

1
     Dr. Mortimer further testified about this figure: “But I do not know what the specific scientific study under the four to five million are, no.”
    When asked if he knew anything about where the number from the FDA document came from, Dr. Mortimer responded: “No, I do not know
    where they pulled that number from.” Tr. 91:9-10. Dr. Mortimer also admitted regarding the FDA’s publications that “it’s not academic
    literature in the sense it’s not published in academic journals.” Tr. 88:24-89:1.



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even today based on sources dating as far back as 1996. When asked about this, Dr. Mortimer

responded that it was his opinion that hypogonadism was underdiagnosed in both 1996 and in

2010. Tr. 93:6-11.2 Dr. Mortimer is neither a physician nor an epidemiologist. As discussed, the

Fifth Circuit—like all other federal courts—requires an expert to be qualified to offer an opinion

about the particular topic and facts underlying the opinion. The evidence shows that Dr.

Mortimer was not qualified to render an opinion regarding prevalence and that the bases for his

opinions were not reliable. Dr. Mortimer’s opinions about the prevalence of hypogonadism and

whether the condition is underdiagnosed should be excluded at trial.

     D. Dr. Mortimer Lacks Qualifications to Offer Medical or Clinical Opinions Such as
        the Identification of “Unmet Needs” for Medical Treatment

          The Court should also exclude any testimony in which Dr. Mortimer offers any clinical

or medical opinions, as an economist simply does not by virtue of such degree have expertise in

this field. Dr. Mortimer nevertheless offers numerous medical and clinical opinions, often in the

guise of rebutting causation. Dr. Rosenthal has opined that Solvay’s off-label promotion of the

three drugs (if proven to have occurred) would have increased sales of the drugs; Dr. Mortimer

attempt to counter that opinion by tying Solvay’s sales to other putative factors, including

“unmet need.” While he is qualified to discuss such putative factors (using reliable

methodology), Dr. Mortimer is in no position to search the medical literature to identify possible

clinical reasons why a patient or physician may have sought out one of Solvay’s drugs for

treatment independently of Solvay’s promotional campaigns. He is not qualified, therefore, to

opine to the jury that based on his independent interpretation of medical literature:




2
    When asked if he knew whether the FDA agreed with him today that hypogonadism is an underdiagnosed condition, Dr. Mortimer
    responded: “So I do not know if the FDA agrees with my article cited in my report that hypogonadism is an underdiagnosed condition.” Tr.
    94:15-17.

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                •     One third of men taking drugs in Viagra’s drug class for erectile
                      dysfunction do not see improvement; (thus these men’s pursuit of
                      alternative treatment, independently of Solvay’s promotions, accounts for
                      AndroGel’s off-label use for erectile dysfunction);3

                •     Many people with OCD have other psychiatric conditions, especially
                      depression, so those appearing in the data to be taking Luvox for
                      depression may really have OCD as well.4

                •     Patients with OCD tend to suffer from multiple disease states.5

                •     Many people with diabetes have either hypertension or coronary artery
                      disease; such comorbidities mean that use of Aceon for diabetes and heart
                      ailments can be explained because these patients may also have
                      hypertension 6

                •     “[A]nother factor to consider in evaluating AndroGel off-label prescribing
                      is that hypogonadism is comorbid with a number of indications that are
                      allegedly off label. (Report at 47, ¶77) For example, hypogonadism is
                      being increasingly recognized as a comorbid condition associated with
                      osteoporosis. (Id. at fn. 152).

                •     The patient profiled in Exhibit 13 is an example of a patient who has tried
                      one SSRI and found it either did not find it efficacious or was dissatisfied
                      with adverse effects, then began taking Luvox independently of any
                      promotional activity. (Report at Exhibit 13, Tr. 68:1-16).




3
    “It has been found that although Viagra (sildenafil) and Cialis (tadalfil) “are the most effective oral drugs for treatment of [erectile
    dysfunction (ED)],” and are considered first-line therapy, approximately “one third of men with ED do not respond to therapy” with these
    drugs. Given that Erectile Dysfunction is a symptom of hypogonadism, off-label use of AndoGel may reflect physician prescribing in cases
    where patients were unresponsive to conventional pharmacotherapies.” Expert Report 47.
4
    “According to Fenske and Schwenk (2009), ‘[t]he rate of psychiatric comorbidity in patients with OCD is high, particularly in those with
    severe OCD. […] The most common comorbid diagnosis is major depressive disorder, which affects two thirds of persons with OCD at
    some point in life.’” Expert Report 49-50.
5
    My understanding from the literature is that –is that patients who present with OCD tend to have complex diagnosis histories in the sense
    they have a lot of other disease states that they suffer from. And my understanding from the literature is that physicians take into account
    patient’s histories and patient’s diseases and comorbidities when choosing a therapy. To the extent that I’m interested in what may drive the
    use of Luvox in this case in different disease states I was interested in understanding what types of information a physician might observe
    when treating a patient with OCD. Tr. 33:18-35:9.
6
    “Another factor that can explain Aceon off-label prescribing is that hypertension has been reported to be comorbid with conditions such as
    diabetes (type I and type II), myocardial infarction, congestive heart failure and hyperlipidemia. For example, Rothman and Wagner (2003)
    note that “more than half of patients with type 2 diabetes mellitus have concurrent hypertension and another one third or more have clinically
    apparent coronary artery disease.” Report at 42-43 at ¶ 69 (cit. omitted).




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       These clinical/medical observations make for unreliable methodology as well. A central

fallacy of the claims about comorbid conditions is that Dr. Mortimer looks at the wrong

population to determine the odds of comorbidity: many people with OCD may have depression,

for example, but what matters in looking at off-label usage for depression is instead, how many

people with depression also have OCD. By the same token, the question as to Aceon is how

many people with hypertension have diabetes, and not the reverse. And for Androgel the

question is not how many people with hypogonadism have osteoporosis, but how many people

with osteoporosis are hypogonadal. And for the correct populations, Dr. Mortimer has          no

support. Dr. Mortimer is therefore unqualified to opine on relevant morbidity data, and his

opinions are unreliable to boot.

   E. Dr. Mortimer’s Legal Opinions Should be Excluded

       The testimony of Dr. Mortimer should be struck to the extent he attempts to render or

support any legal opinion. He has acknowledged that he is not holding himself out as a legal

expert (Tr. 46:18-21), and expert opinions interpreting the law are inappropriate in any case.

Under Rule 704(a), “[t]estimony in the form of an opinion or inference otherwise admissible is

not objectionable because it embraces an ultimate issue to be decided by the trier of fact.”

Fed.R.Evid. 704(a); see United States v. Moore, 997 F.2d 55, 57–58 (5th Cir.1993) (discussing

Rule 704(a)). That rule, however, does not allow a witness to give legal conclusions. Owen v.

Kerr–McGee Corp., 698 F.2d 236, 240 (5th Cir.1983); United States v. Fogg, 652 F.2d 551, 557

(5th Cir.1981), cert. denied, 456 U.S. 905, 102 S.Ct. 1751, 72 L.Ed.2d 162 (1982); United States

v. Milton, 555 F.2d 1198, 1203 (5th Cir.1977). See McCormick, Evidence § 12 (1972).

       1. Bornstein Considerations As They Relate to Rebates




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       For instance, Dr. Mortimer offers an opinion concerning the standards for subtraction of

sums or payments before the trebling of damages under the False Claims Act. He states:

       To arrive at the net amount paid by the government for Aceon, AndroGel, and
       Luvox prescriptions, it is necessary to determine the amount SPI paid in Medicaid
       rebates and deduct that from the gross Medicaid reimbursements reported in
       SDUD and used by Dr. Rosenthal. For that purpose, I reviewed SPI documents
       and estimated Medicaid rebates for the three drugs at issue.

Report at 30, ¶ 50. Dr. Mortimer was never qualified to testify as a legal expert; and to the extent

he opines on or attempts to influence the issue of subtraction of damages and trebling, such an

opinion would be improper. Furthermore, any opinion as to the handling of rebates must comport

with the law as espoused by the United States Supreme Court in the case of United States v.

Bornstein, 423 U.S. 303, 96 S.Ct. 523, 46 L.Ed.2d 514 (1976). The Bornstein case involved

claims under the False Claims Act, and the U.S. Supreme Court held that damages owed to the

Government would be doubled before subtracting any compensatory payments received by the

Government in the case.

       Although Dr. Mortimer’s Expert Report did not discuss compensatory damages, Dr.

Mortimer’s report did discuss that the Relator’s expert on damages failed to account for rebates

paid to Medicaid by Solvay. See Expert Report 30. Dr. Mortimer recalculated the figures taking

the rebates into account, which resulted in reduced estimated potential damages. See Expert

Report 56, 59, 61. To the extent Dr. Mortimer may be implying that Relator’s damages must be

reduced by the amounts of the rebates before any trebling of damages occurs in this case, such an

implication is improper. Dr. Mortimer is not qualified to render any legal opinions, and as a legal

issue the final determination must be left to the Court.

       In the Bornstein case the United States Supreme Court held: “We agree that the

Government’s damages should be doubled before any compensatory payments are deducted,



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because that method of computation most faithfully conforms to the language and purpose of the

Act.” Bornstein, 423 U.S. at 314, 96 S.Ct. at 530. The Court went on to state:

                      For these reasons we hold that, in computing the double damages
                      authorized by the Act, the Government’s actual damages are to be
                      doubled before any subtractions are made for compensatory
                      payments previously received by the Government from any source.
                      This method of computation, which maximizes the deterrent
                      impact of the double-damages provision and fixes the relative
                      rights and liabilities of the respective parties with maximum
                      precision, best comports in our view with the language and
                      purpose of the Act.

Bornstein, 423 U.S. at 316-17, 96 S.Ct. at 531. An expert witness on economics should not be

allowed to present an opinion regarding the legal effect of a case from the United States Supreme

Court. Dr. Mortimer’s opinions do not meet the requirements for expert testimony established by

the United State Supreme Court and the Fifth Circuit. Relators therefore respectfully ask the

Court to exclude Dr. Mortimer’s opinions on appropriate application of the Bornstein factors.

          2. What Constitutes a False Claim

          At various points in his report, Dr. Mortimer points to assumptions about the Court’s

rulings in this case. While explicit assumptions about the law are permissible and pose no

Daubert or related concerns, Dr. Mortimer’s testimony during his deposition threatened to

venture into his own interpretation of the Court’s rulings. For instance, on page 54 of his report,7

Dr. Mortimer posits a single flow chart to be followed in calculating damages in the case, with

no distinctions based on different theories of liability. In doing so, he assumes, without basis,

that no “medically acceptable” claim may be considered false under the False Claims Act,

ignoring the Court’s rulings as to fraud on DrugDex and fraud on P&T Committees. Such




7
    See also Report at 70, ¶ 109: “The calculations Dr. Rosenthal implements under this theory, do not distinguish between on- and off-label
    prescriptions.” But see Tr. 48:21-50:2.
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opinions amount to legal conclusions–and erroneous ones. Relators therefore ask that any

opinion by Dr. Mortimer regarding what constitutes a false claim be excluded.

       3. State Prior Authorization Policies and Regulations

       At pages 72-73 of his report, Dr. Mortimer opines on the various prior authorization

policies in place in the states at issue with regard to Relators’ allegations of undue influence on

Medicaid P&T Committees. Dr. Mortimer claims no experience whatever with such policies or

regulations and has no pertinent qualifications. Moreover, in no way does it assist the jury to hear

this economist explain how such statutes or regulations may work. To the extent that Dr.

Mortimer wishes to offer opinions at trial with regard to these policies or regulations, his

testimony should be excluded.

                                      VI.     CONCLUSION

       For the reasons provided above, Relators John King and Tammy Drummond respectfully

request that this Court not permit Dr. Mortimer to testify regarding the following:

   (1) Impact on sales of off-label promotions;

   (2) Epidemiological observations such as prevalence of hypogonadism and hypogonadism as
       an underdiagnosed condition;

   (3) Medical or clinical opinions such as the identification of “unmet needs” for medical
       treatment; and

   (4) Legal opinions regarding Bornstein considerations, what constitutes a false claim, and the
       substance of state prior authorization policies and regulations.

                                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that a true and complete copy of the foregoing was served on May 15,

2015, on the following counsel via ECF and via email for sealed motions and exhibits:

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